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                                                                             United States District Court
                                                                               Southern District of Texas

                                                                                  ENTERED
                    UNITED STATES DISTRICT COURT
                                                                                January 15, 2025

                     SOUTHERN DISTRICT OF TEXAS
                                                                               Nathan Ochsner, Clerk

                         HOUSTON DIVISION

SHALAETHA PRESTON-CAVER §
AND QUINTON CAVER,      §
                        §
    Plaintiffs,         §
                        §
v.                      § CIVIL ACTION NO. 4:24-cv-4850
                        §
PRESTIGE DEFAULT        §
SERVICES, LLC, ET AL.,  §
                        §
    Defendants.         §

                 MEMORANDUM AND RECOMMENDATION

        Pending before the Court is pro se Plaintiffs Shalaetha Preston-Caver

and Quinton Caver’s (collectively, “Plaintiffs”) Application for Ex Parte

Temporary Restraining Order and Preliminary Injunction.                  (ECF No. 6). 1

Based on a review of the motion, arguments, and relevant law, the Court

RECOMMENDS Plaintiffs’ Application for Ex Parte Temporary Restraining

Order and Preliminary Injunction (id.) be DENIED.

   I.      Background

        Plaintiffs originally filed suit in Fort Bend County, Texas in November

2024. (ECF No. 1 at 17). In December 2024, Defendants removed the suit to




        1 On December 31, 2024, this case was referred to the Undersigned for all purposes

pursuant to 28 U.S.C. § 636(b)(1)(A) and (B) and Federal Rule of Civil Procedure 72. (ECF
No. 3).
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federal court. (ECF No. 1). This suit arises from the foreclosure and eviction

actions related to the property located at 46 Sorrento Way Dr., Missouri City,

TX 77459 (the “Property”). (ECF No. 6 at 1). Plaintiffs allege Defendants

Prestige Default Services, LLC (“Prestige”), US Bank Trust National

Association, As Trustee of the BKPL-EG Basket Trust (“US Bank Trust”), and

SN Servicing Corporation’s (“SN”) (collectively, “Defendants”) were engaged in

“unlawful attempts to foreclose on Plaintiff[s’] Property without proper legal

authority.”   (Id.).   Plaintiffs allege Defendants violated the Racketeer

Influenced and Corrupt Organizations Act (“RICO”), the Fair Debt Collection

Practices Act (“FDCPA”), the Real Estate Settlement Procedures Act

(“RESPA”), the Texas Penal Code, Texas consumer protection statutes and

committed breach of contract and fraud. (Id.).

      Plaintiffs bought the Property in August 2017 and financed the purchase

through Caliber Home Loans. (ECF No. 7 at 1). In 2019, Plaintiffs claim

“discrepancies in the application of payments arose . . . leading to a demand for

over $50,000 and foreclosure threats.” (Id. at 2). Plaintiffs filed suit against

Caliber Home Loans in 2020 based on alleged “fail[ure] to provide proper

accounting or correct the discrepancies” but subsequently settled. (Id.). In

October 2021, the mortgage note (the “Note”) was assigned to US Bank Trust

with SN as the servicer. (Id.). However, Plaintiffs allege they “encountered

the same issues: improper application of payments (failure to credit account)
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and unverified debt amounts.” (Id.). In July 2024, Plaintiffs allege SN issued

a demand letter for approximately $58,000.00 and refused to accept partial or

regular mortgage payments. (Id.).

         Conversely, Defendants assert Plaintiffs became delinquent in their

payment due, allowing US Bank Trust to exercise the power of sale under the

Deed of Trust pursuant to Plaintiffs’ default. (ECF No. 12 at 2).

         On November 5, 2024, Plaintiffs received a foreclosure notice from

Prestige. (ECF No. 7 at 3). Plaintiffs then filed their lawsuit in state court.

(Id.). On December 3, 2024, a foreclosure sale of the Property occurred where

US Bank Trust acquired the Property. (Id.). Plaintiffs now seek an injunction

to prevent Defendants from initiating eviction proceedings. (ECF No. 6). The

eviction proceedings are set to begin on January 15, 2025. (Id. at 5). The Court

held a hearing regarding Plaintiffs’ Ex Parte Emergency Motion for Temporary

Restraining Order (“TRO”) on January 13, 2025. (ECF No. 16). 2

   II.      Discussion

         Plaintiffs seek a TRO or preliminary injunction (“PI”) to enjoin

Defendants from pursuing eviction proceedings related to the Property. (ECF


         2 On January 8, 2025, the Court ordered Defendant to file a response by January 10,

2025. (ECF No. 8). As stated on the record, given that eviction proceedings had not yet begun
and foreclosure had occurred, the Court found Plaintiff’s affidavit did not “‘clearly show that
immediate and irreparable injury, loss, or damage [would] result to the movant before the
adverse party [could] be heard in opposition.’” Younkman v. Payton, No. 4:18-cv-568, 2018
WL 4856777, at *1 n.2 (E.D. Tex. Aug. 20, 2018), report and recommendation adopted, No.
4:18-cv-568, 2018 WL 4854075 (E.D. Tex. Oct. 5, 2018) (quoting FED. R. CIV. P. 65(b)(1)(A)).
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No. 6 at 1). Defendants argue the Court does not have jurisdiction under the

Anti-Injunction Act to issue an injunction, and even so, Plaintiffs cannot meet

the threshold requirements for obtaining injunctive relief. (ECF No. 12). The

Court will first address the jurisdictional issue.

         A.      Jurisdiction Under the Anti-Injunction Act

      Defendants argue the Court lacks jurisdiction to issue an injunction

under the Anti-Injunction Act due to the upcoming state court eviction

proceedings. (Id. at 2–3).

      “Federal district courts have found . . . that they generally lack

jurisdiction to grant relief where a plaintiff seeks a temporary restraining

order or injunction to prevent the pursuit of eviction proceedings, or the

execution of a writ of possession.” Younkman, 2018 WL 4856777, at *2 (citing

Knoles v. Wells Fargo Bank, N.A., 513 F. App’x 414 (5th Cir. 2013)). ‘“The

Anti–Injunction Act generally prohibits federal courts from interfering with

proceedings in state court.’” Health Net, Inc. v. Wooley, 534 F.3d 487, 943 (5th

Cir. 2008) (quoting Vines v. Univ. of La., 398 F.3d 700, 704 (5th Cir. 2005)); see

also Total Plan Servs., Inc. v. Tex. Retailers Ass’n, Inc., 925 F.2d 142, 144 (5th

Cir. 1991) (“The Anti–Injunction Act, with limited exceptions, generally

proscribes a federal court from issuing injunctions to prevent a state court from

proceeding.”).


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      “Proceedings in state courts should normally be allowed to continue

unimpaired by intervention of the lower federal courts, with relief from error,

if any, through the state appellate courts and ultimately this Court.” Health

Net, Inc., 534 F.3d at 494 (quoting Atl. Coast Line R.R. v. Bhd. of Locomotive

Eng’rs, 398 U.S. 281, 286–87 (1970)).         “[T]he Anti–Injunction Act ‘is an

absolute prohibition against enjoining state court proceedings, unless the

injunction falls within one of three specifically defined exceptions.’”        Id.

(quoting Atl. Coast Line R.R., 398 U.S. at 286).          The exceptions include

situations “as expressly authorized by Act of Congress, or where necessary in

aid of its jurisdiction, or to protect or effectuate its judgments.” Id.

      Here, Plaintiffs seek injunctive relief in federal court after their Property

was foreclosed upon and while state court post-foreclosure proceedings are set

to commence on January 15, 2025. (ECF No. 6 at 6; ECF No. 12 at 3–4).

Similarly, in Williams v. Cap. Fund I, LLC, No. 4:23-cv-1694, 2023 WL

6797529, at *1–2 (S.D. Tex. Oct. 13, 2023) and Knoles, 513 F. App’x at 415–16,

a borrower sought injunctive relief in federal court after defendant foreclosed

on his property and post-foreclosure proceedings were initiated in state court.

Both courts held there was a lack of authority to grant the borrower’s request

for injunctive relief because the borrower’s request to enjoin the eviction

proceedings was barred by the Anti-Injunction Act.           Williams, 2023 WL

6797529, at *3; Knoles, 513 F. App’x at 416.
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      At the TRO hearing held on January 13, 2025, Plaintiffs asserted the

second exception—where necessary in aid of its jurisdiction—applies.               In

assessing the “in aid of jurisdiction” exception, “the Supreme Court explains

that ‘some federal injunctive relief may be necessary to prevent a state court

from so interfering with a federal court’s consideration or disposition of a case

as to seriously impair the federal court’s flexibility and authority to decide that

case.’” In re Vioxx Prods. Liab. Litig., 869 F. Supp. 2d 719, 725 (E.D. La. 2012)

(quoting Atlantic Coast Line R. Co., 398 U.S. at 295). The “exception comes

into play only when a state court proceeding ‘threatens to dispose of property

that forms the basis for federal in rem jurisdiction.’”       Phillips v. Charles

Schreiner Bank, 894 F.2d 127, 132 (5th Cir. 1990) (quoting Texas v. United

States, 837 F.2d 184, 186–87 n. 4 (5th Cir.), cert. denied, 488 U.S. 821, 109 S.Ct.

65, 102 L.Ed.2d 42 (1988) (emphasis in original)). To distinguish, “[a]n in rem

action is brought against ‘property alone, treated as responsible for the claims

asserted by . . . the plaintiffs’” and “[a]n in personam action, by contrast,

determines a defendant’s personal rights and liabilities.” Id. (quoting Freeman

v. Alderson, 119 U.S. 185, 187 (1886) (emphasis in original)).

      Here, the “in aid of jurisdiction” exception is not applicable as the lawsuit

is an in personam action. See id. (“Phillips’s complaint seeks monetary

damages for wrongs allegedly committed by Schreiner Bank. This lawsuit is

thus an ordinary in personam action, and the mere fact that debts secured by
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real property are at issue in the dispute does not transform it into an in rem

proceeding.”). Moreover, “[a] simple overview of Texas foreclosure and forcible

detainer law reveals that the state court eviction proceedings will neither

dispose of the res nor threaten this Court’s continuing supervision.” Hart v.

Wells Fargo Bank, N.A., No. 3:14-cv-1111, 2014 WL 12531171, at *3 (N.D. Tex.

Apr. 30, 2014) (emphasis in original). “Specifically, the federal and state court

actions can both proceed uninhibited because, in Texas, actions to determine

possession and actions to decide title address distinct issues and can be, and

often are, tried concurrently.” Id.

      Plaintiffs have failed to show that any of the exceptions apply here. See

Granny Goose Foods, Inc. v. Bhd. of Teamsters & Auto Truck Drivers Loc. No.

70 of Alameda Cnty., 415 U.S. 423, 443 (1974) (“The burden was on the

[movant] to show that they were entitled to a preliminary injunction, not on

the [respondent] to show that they were not.”). As such, the Court lacks

jurisdiction to grant injunctive relief with respect to the eviction proceedings.

         B.    Injunctive Relief Requirements

      Even so, to obtain a TRO or PI, the applicant must show:

      (1) a substantial likelihood of success on the merits; (2) a
      substantial threat that the movant will suffer irreparable injury if
      the injunction is denied; (3) that the threatened injury outweighs
      any damage that the injunction might cause the Defendant; and
      (4) that the injunction will not disserve the public interest.


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Younkman, 2018 WL 4856777, at *1. “Plaintiff bears the burden to prove all

four requirements in order to be entitled to injunctive relief.” Id. “The denial

of a preliminary injunction or TRO will be upheld where the movant has failed

to sufficiently establish any one of the four criteria.” Id. (citing Black Fire

Fighters Ass’n v. City of Dall., Tex., 905 F.2d 63, 65 (5th Cir. 1990)). “The grant

of injunctive relief is an extraordinary remedy which requires the movant to

unequivocally show the need for its issuance.” Valley v. Rapides Par. Sch. Bd.,

118 F.3d 1047, 1050 (5th Cir. 1997).

                  1.      Substantial Likelihood of Success on the Merits

       As to substantial likelihood of success on the merits, Plaintiffs simply

state their causes of action and provide brief sentences in support. 3 (ECF No.

6 at 3–5).      Defendants argue “Plaintiffs interpretation of and arguments

pertaining to the effect of loan document provisions . . . simply do not reveal

any facts that suggest that they are substantially likely to prevail on any

theory set forth in on [sic] their latest pleading.” (ECF No. 12 at 6).

       Because foreclosure has already taken place and the Property has been

sold, Plaintiffs have no basis for an injunction. See Younkman, 2018 WL




       3 The causes of action Plaintiffs expand upon are not the subject matter of this
application for a TRO or PI. (ECF No. 6 at 3–5). The basis of and remedy sought through
this application for a TRO or PI is to enjoin Defendants from conducting eviction proceedings
related to the Property. (Id. at 6). As such, the causes of actions Plaintiffs cite regarding the
substantial likelihood of success on the merits is not ripe for resolution at this time.
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4856777, at *2 (holding Plaintiff failed to show a substantial likelihood of

success as “Plaintiff is no longer the owner of the property, he has no basis for

an injunction”); see also Mesa v. Wells Fargo Bank, N.A., No. 4:17-cv-00532,

2017 WL 9285517, at *2 (E.D. Tex. Sept. 1, 2017), report and recommendation

adopted, No. 4:17-cv-532, 2017 WL 3940534 (E.D. Tex. Sept. 8, 2017) (“Since

Plaintiffs are no longer the owner of the property, they have no basis for an

injunction.”). Accordingly, this factor weighs against injunctive relief.

               2.      Substantial Threat of Irreparable Injury or Harm

      Plaintiffs argue they face irreparable harm because there are “eviction

proceedings set to begin on January 15, 2025, which would result in the loss of

their home, causing emotional distress and harm to financial stability.” (ECF

No. 6 at 5). Further, Plaintiffs argue “[m]onetary damages are insufficient to

compensate for the loss of the unique Property and the associated emotional

and psychological impact.”     (Id.).   Defendants argue that if Plaintiffs are

awarded monetary damages, they would be “fully compensated and made

whole” under the law; thus, suffering no irreparable harm. (ECF No. 12 at 7).

      “Irreparable harm is generally shown by demonstrating that there is no

adequate remedy or that proposed remedies will generally prove inadequate to

rectify the harm that will arise if no injunction is issued.” Hart, 2014 WL

12531171, at *4 (citing Miss. Power & Light Co. v. United Gas Pipe Line Co.,

760 F.2d 618, 623–24 (5th Cir. 1985)). “Irreparable harm requires a showing
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that: (1) the harm to Plaintiff[ ] is imminent (2) the injury would be irreparable

and (3) that Plaintiff[ ] ha[s] no other adequate legal remedy.” Alex A. by &

through Smith v. Edwards, No. 22-cv-573, 2022 WL 4445499, at *29 (M.D. La.

Sept. 23, 2022) (quoting J.H. by & through N.H. v. Edwards, No. 20-cv-293,

2020 WL 3448087, at *44 (M.D. La. June 24, 2020) (quotations omitted)).

      An eviction is not per se irreparable. Hart v. Wells Fargo Bank, N.A.,

No. 3:14-CV-1111, 2014 WL 12531172, at *2 (N.D. Tex. Mar. 31, 2014). “[A]

plaintiff must submit evidence to show irreparable damage, and cannot just

rely upon the subject matter of the litigation to establish that any possible

damages are inherently irreparable.” Id. (citing Home Sav. of Am., F.A. v. Van

Cleave Dev. Co., 737 S.W.2d 58, 59 (Tex. App.—San Antonio 1987, no writ)).

      Here, Plaintiffs allege irreparable harm from the eviction proceedings

would “result in the loss of their home, causing emotional distress and harm to

financial stability” and that “[m]onetary damages are insufficient to

compensate for the loss of the unique Property and the associated emotional

and psychological impact.” (ECF No. 6 at 5). However, as stated, eviction itself

does not per se constitute irreparable injury. Plaintiffs provide conclusory

statements that they will suffer emotional distress, psychological impact, and

loss of financial stability. See Abor v. Planet Home Lending LLC, No. 3:24-cv-

02205, 2024 WL 4184484, at *1 (N.D. Tex. Sept. 4, 2024), report and

recommendation adopted, No. 3:24-cv-02205, 2024 WL 4194344 (N.D. Tex.
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Sept. 13, 2024) (holding that plaintiffs alleging irreparable harm of loss of their

home and equity, damage to their credit rating, emotional damages, and

continued public humiliation and defamation “are either wholly conclusory,

speculative, or have already occurred, as Plaintiffs admit that their home was

sold at a foreclosure sale on April 2, 2024”); see also Hart, 2014 WL 12531172,

at *2 (“Plaintiffs’ claims that eviction is an inherently irreparable harm and

that one of the plaintiffs is disabled do not rise to a sufficient level to show that

Plaintiffs will experience harm that is irreparable under the circumstances of

this case. These claims are excessively conclusory and do not show that legal

remedies will be insufficient to make the Plaintiffs whole for any harm they

experience before Wells Fargo makes an appearance in this case.”).

      Plaintiffs similarly fail to show that irreparable harm is imminent. The

foreclosure has already occurred and although the Parties allege eviction

proceedings are set to begin on January 15, 2025, the Court has not received

proof that the eviction proceedings have commenced at the time of this

Memorandum and Recommendation. See Hart, 2014 WL 12531172, at *2

(“Plaintiffs indicate that while Wells Fargo has already foreclosed on their

home, it has not instigated eviction proceedings at the time of this Order,

although the bank did state in a March 14, 2014 letter that eviction

proceedings were imminent.”). “This evidence alone is insufficient to justify

the peculiar remedy of an ex parte TRO because it only indicates that eviction
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proceedings are possible and does not suggest that such proceedings will occur

within the short time frame that it will take for Wells Fargo to appear in this

case.” Id. (citing Digit. Generation, Inc. v. Boring, No. 3:12-cv-0329, 2012 WL

315480, at *3 (N.D. Tex. Feb. 2, 2012)).        Further, in the event eviction

proceedings occur and the justice of the peace enters a final judgment against

Plaintiffs, Texas law provides Plaintiffs an adequate remedy—the right to

appeal to the county court. See Duncan v. JPMorgan Chase Bank, Nat’l Ass’n,

No. 12-cv-1186, 2013 WL 12106229, at *1 (W.D. Tex. Feb. 8, 2013).

Accordingly, Plaintiffs failed to show that irreparable harm is imminent; thus,

this factor weighs against injunctive relief.

      In sum, although the Court lacks jurisdiction to issue injunctive relief,

Plaintiffs are also unable to satisfy all the required elements and are not

entitled to injunctive relief.

   III.   Conclusion

      Based on the foregoing, the Court RECOMMENDS Plaintiffs’

Application for Ex Parte Temporary Restraining Order and Preliminary

Injunction (ECF No. 6) be DENIED.

      The Clerk shall send copies of this Memorandum and Recommendation

to the respective parties who have fourteen days from the receipt thereof to file

written objections thereto pursuant to Federal Rule of Civil Procedure 72(b)

and General Order 2002-13. Failure to file written objections within the time
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period mentioned shall bar an aggrieved party from attacking the factual

findings and legal conclusions on appeal.

      SIGNED in Houston, Texas on January 15, 2025.




                                            ______________________________
                                                  Richard W. Bennett
                                            United States Magistrate Judge




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